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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OFAMERICA =: No. 3:24-CR-00128
vs. . (MANNION, J.)
:  (SAPORITO, M.J.).
JORDAN GEE,
~ Defendant. : Electronically Pied, Fy,
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UNITED STATES OF AMERICA TO THE WARDEN, PER 1G 2024
SUPERINTENDANT, OR PERSON IN CHARGE OF ote”
LUZERNE COUNTY PRISON, WILKES-BARRE, PA’ ~ Bhan

YOU ARE COMMANDED TO PRODUCE, now in your custody or
one of your deputies, the person of

JORDAN GEE

into the custody of the United States. Marshals Service or Agents of the
United States Secret Service, against whom there are pending certain
criminal proceedings in the United States District Court for the Middle
District ‘of Pennsylvania, that JORDAN GEE appear for an Initial
Appearance/Arraignment hearing on Wednesday, May 29, 2024, at 11:00
a.m. in connection with the criminal charges and that United States

Marshals Service is directed to keep the prisoner safe in custody, and

confine him from day to day, when not appearing before the Court, in a

safe and suitable jail, and that JORDAN GEE remain in federal custody

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Case 3:24-cr-00128-MEM Document 7-1 Filed 05/15/24 Page 2 of 2

until the final disposition of the federal charges in this Court. oo

=~ M oe
Witness my signature on this jo 0 day of Pebredlex 2024

Rosey fr .
JOSEPH F. SAPORJTO, JR. .
‘CHIEF U.S. MAGISTRATE JUDGE

